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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA

                               ATLANTA DIVISION

UNITED STATES OF AMERICA                )
                                        )
             vs.                        )       CRIMINAL ACTION
                                        )       NO. 1:21-CR-310-SDG-LTW
DAWUAN WILLIAMS                         )

                   MOTION TO SUPPRESS STATEMENTS

      COMES NOW the Defendant, DAWUAN WILLIAMS, by and through his

undersigned counsel, and files this motion to suppress statements. In support of

this motion, Mr. Williams states the following.

      On July 22, 2021 ATF agents arrested Mr. Williams on a federal criminal

complaint that charged him with several offenses: possessing a firearm as a

prohibited person in violation of 18 U.S.C. § 922(g)(1); making a false or fictitious

statement to a licensed firearms dealer in violation of 18 U.S.C. § 922(a)(6);

furnishing and exhibiting a false, fictitious or misrepresented identification to a

federally licensed firearms dealer with respect to the sale or disposition of a firearm

in violation of 18 U.S.C. § 922(a)(6); and transferring, possessing, or using without

lawful authority the identification of another person during and in relation to a

violation of 18 U.S.C. § 922(a)(6) in violation of 18 U.S.C. § 1028A.


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      The arrest occurred at a rooming house where Mr. Williams lived. After

arresting Mr. Williams, ATF agents questioned Mr. Williams while he was inside

the residence. The Government has provided in discovery a recording of the

interrogation. An agent read Miranda warnings to Mr. Williams at the beginning of

the recording.

      In order to use at trial any statements that Mr. Williams made to the agents,

the Government must prove both compliance with Miranda and that the statements

were made voluntarily. . Miranda v. Arizona, 384 U.S. 436, 468-469 (1966);

Jackson v Denno, 378 U.S. 368, 376-377 (1984). Prior to the admission of

statements attributed to Mr. Williams at trial, Mr. Williams asks the Court to hold a

hearing to address whether those statements were voluntarily made and whether the

Government obtained the statements in violation of Mr. Williams’s Miranda rights.

Mr. Williams also moves to suppress any evidence obtained as fruit of any

statements unlawfully elicited from him. See Wong Sun v. United States, 371 U.S.

471, 83 S.Ct. 407, 9 L.Ed. 2d 441 (1963).

      WHEREFORE, Mr. Williams respectfully requests that this motion be

granted.




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     Dated: This 23rd day of September, 2021.

                                         Respectfully submitted,

                                         s/ Kendal D. Silas
                                         KENDAL D. SILAS
                                         State Bar of Georgia No. 645959
                                         Attorney for DAWUAN WILLIAMS

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Atlanta, GA 30303; 404/688-7530




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                           CERTIFICATE OF SERVICE

      I hereby certify that the foregoing motion was electronically filed this day with

the Clerk of Court using the CM/ECF system, which will automatically send email

notification of such filing to the following:

             Theodore Hertzberg, Esq.
             Assistant United States Attorney
             Northern District of Georgia
             Federal Courthouse, Ste. 600
             75 Ted Turner Drive, S.W.
             Atlanta, GA 30303

      Dated: This 23rd day of September, 2021.


                                                s/ Kendal D. Silas
                                                KENDAL D. SILAS, Esq.
                                                Attorney for DAWUAN WILLIAMS




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